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           In the United States Court of Federal Claims
                                      No. 10-682C
                                 (Filed January 7, 2011)

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                                    *
ACROW CORPORATION OF AMERICA, *                         Post-award bid protest; 28 U.S.C.
                                    *                   § 1491(b)(1) (2006); responsibility
                    Plaintiff,      *                   determination, 48 C.F.R. (FAR)
                                    *                   § 9.103 (2010).
         v.                         *
                                    *
THE UNITED STATES,                  *
                                    *
                    Defendant,      *
                                    *
         and                        *
                                    *
MABEY BRIDGE & SHORE, INC.,         *
                                    *
              Defendant-Intervenor. *
                                    *
***************************

      Thomas A. Coulter, Richmond, VA, for plaintiff. Nicole Hardin Brakstad, LeClair
Ryan, PC, of counsel.

     Lartease M. Tiffith, Washington, DC, with whom was Assistant Attorney General
Tony West, for defendant. Debra J. Talley, Associate Command Counsel, Army Materiel
Command, Redstone Arsenal, AL, of counsel.

     Elizabeth W. Newsom, Washington, DC, for defendant-intervenor. David Z.
Bodenheimer and Puja Satiani, Crowell & Moring, LLP, of counsel.

                    MEMORANDUM OPINION AND ORDER 1/



       1/ This opinion originally was filed under seal on December 17, 2010. The parties
were requested to notify the court of any redactions. Defendant’s redactions are denoted by
brackets. Plaintiff did not request any redactions.
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MILLER, Judge.

       This matter is before the court after argument on the parties’ cross-motions for
judgment on the administrative record. The narrow issues before the court are whether the
contract awardee made a material misrepresentation to the contracting officer that she relied
on so as to render her responsibility determination arbitrary and capricious, or whether the
contracting officer’s failure to consider the full text of a proposed counterclaim that
particularized information that she reviewed generally in other documents rendered her
decision arbitrary and capricious.

                                          FACTS

       1. History of the procurement

        Plaintiff protests the award of Solicitation No. W56HZV-09-R-0480 (the
“Solicitation”) to defendant-intervenor Mabey Bridge & Shore, Inc. (“MBSI”), on the ground
that the United States Army TACOM Life Cycle Management Command (“TACOM”)
improperly determined that MBSI was a responsible offeror. The Solicitation included a
firm, fixed-price five-year requirements contract, with two one-year options, to build a Line
of Communication Bridge (“LOCB”) system that transports ground forces in the U.S. Army
across dry and wet “gaps.” Admin. R. (“AR”) filed Oct. 19, 2010, at 49. LOCB systems
“ensure support forces are able to move freely and without delay throughout a given theater
of operation.” Compl. filed Oct. 8, 2010, ¶ 14.

       The Solicitation articulated the method of determining which proposal provided the
“best value,” stating, in relevant part:

       [T]he Government will evaluate the following factors: Experience, Price,
       Technical and Small Business Participation. Experience is equal in importance
       to Price. Price is more important than Technical. Technical is more important
       than Small Business Participation. The non-price factors when combined are
       more important than Price.

              ....

              (a)    [The Government will] award a contract to the offeror that:

                      (1) . . . provides the best value to the Government if factors in
       addition to price are identified elsewhere in this solicitation, and



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              ....

                     (3) meets all the responsibility criteria at FAR 9.104.

AR at 161-62. The Solicitation further mandated that, “[p]er FAR 9.103, contracts will be
placed only with the Contractors that the Contracting Officer determines to be responsible.
Prospective Offerors . . . must be able to demonstrate that they meet standards of
responsibility set forth in FAR 9.104.” AR at 161. 48 C.F.R. (FAR) § 9.104-1 (2010), lists
seven aspects of “responsibility” that a contracting officer should consider in coming to a
responsibility determination, among which is the requirement that “a prospective contractor
must . . . (d) [h]ave a satisfactory record of integrity and business ethics (for example, see
Subpart 42.15).” Id.

       In 2009 TACOM awarded plaintiff an Operational Needs Statement (“ONS”) contract
to make similar, although not identical, bridge systems. See Declaration of William T.
Killeen, Nov. 29, 2010, ¶3; see also Declaration of David W. Marck, Dec. 2, 2010, ¶ 2
(“Marck Decl. II”) (noting that while there are similarities between plaintiff’s ONS contract
and disputed procurement, there are also several differences). Contract performance on the
ONS contract began March 17, 2009, Killeen Decl. ¶ 15, and is set to expire March 16, 2012,
Pl.’s Br. filed Oct. 29, 2010, at 3.

        TACOM notified plaintiff of the Solicitation on December 2, 2009, and plaintiff
submitted its proposal on January 18, 2010. MBSI, plaintiff’s competitor in the bridge-
supply industry, was the only other offeror to submit a proposal. MBSI is part of a group of
bridging manufacturing and supply companies known as the Mabey Group of companies
based the United Kingdom. Prior to October 1, 2009, a now-defunct company called Mabey
& Johnson Ltd. (“M&J”), was the primary bridge “manufacturer of the Mabey Logistics
Support Bridge.” AR at 545. MBSI is, and M&J was, a division of Mabey Engineering
(Holdings) Ltd. and ultimately of its parent company, Mabey Holdings Ltd., all of which are
part of the Mabey Group; however, in October 2009, Mabey Bridge Ltd. (“MBL”) purchased
M&J’s assets and contracts. M&J now exists as a defunct subdivision of MBL, maintaining,
as of March 2, 2010, only “some residual trade.” AR at 579. MBL is now MBSI’s
substantial subcontractor and prospective manufacturer and subcontractor under MBSI’s
proposal. MBSI has “supplied Line of Communication Bridging worth $125 million” since
2003. AR at 582.

       M&J had been the source of recent international controversy initiated by a draft
counterclaim making allegations about M&J by former Mabey manager Jonathan Danos.
Mr. Danos was engaged in negotiating commissions with M&J’s agents in various countries
in Africa and South America. See AR at 3622 (the “Danos counterclaim”). The Danos

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counterclaim arose from a proceeding instigated by M&J on January 11, 2007, against Mr.
Danos; “M&J claimed that Mr. Danos had acted in breach of his contract of employment and
his fiduciary duty by agreeing to pay an inflated commission figure to the Jamaican agent in
order that he and the agent could secretly profit at M&J’s expense . . . .” AR at 3408
(Prosecution Opening Note in UK litigation against M&J (the “Prosecution Opening
Note”)). 2/ However, Mr. Danos countered in a draft amended defense and counterclaim that
it was “‘common practice’ for M&J to pay government officials in order to secure contracts.”
Id. Although it appears the litigation was settled, the draft amended defense and
counterclaim was sent to M&J’s attorneys and ultimately led M&J to conduct a widespread
investigation and to voluntarily report itself to the Serious Fraud Office of the United
Kingdom (the “SFO”). AR at 3409.

        M&J pled guilty on September 25, 2009, for corrupt practices for contracts in Jamaica
and Ghana, including payments from 1993 through 2001 of bribes in the form of large
commissions, and for breaching a United Nations embargo on trade with Iraq from 2001
through 2002. The charges were brought by the SFO, which outlined its case and terms of
a settlement in the Prosecution Opening Note. The SFO alleged that M&J routinely paid
agents commissions that ranged from contract to contract, but that historically included fees
of five to fifteen percent. AR at 3404. In particular, in Jamaica and Ghana, M&J was aware



        2/ When the court refers to the “Prosecution Opening Note,” the referent is the
document contained in the administrative record at 3403-46 that discusses the bribery
practices for which M&J was prosecuted. This is the opening note from the charges brought
by the Serious Fraud Office of the United Kingdom investigation against M&J. Two
prosecution opening notes appear in the administrative record for the two types of conduct
to which M&J pled guilty: overseas corruption in Jamaica and Ghana and breach of United
Nations sanctions in the Iraq oil-for-food program. Although plaintiff contends that “these
documents were not in the contract file, as required by FAR 9-105(2)(b),” Pl.’s Br. filed Nov.
29, 2010, at 2, defendant substantiates that the contracting officer reviewed both documents
before writing her Memorandum for Record on June 8, 2010, Def.’s Br. filed Dec. 3, 2010,
at 7. Defendant points to page 778 of the administrative record to support its contention. Id.
This document consists of an online article reporting on M&J’s September 25, 2009
sentencing hearing and attaches the prosecution’s opening notes for both charges. See AR
at 778. Although the contracting officer was unable “to retrieve the files from the website
because the links had expired,” a hard copy was provided to the GAO and this court. Def.’s
Br. filed Dec. 3, 2010, Ex. B. The court agrees with defendant that “based upon the dates
stamped on the website screen shot the document had been viewed no later than February 10,
2010, months before the filing of the Memorandum of Responsibility . . . .” Id. (citation
omitted).

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that “its agents were involved in corrupt relationships with public officials,” and M&J
accepted that it agreed with these agents to bribe public servants with money from the agent’s
commission payments. AR at 3405. To that end, the SFO charged that M&J “employed
known bribers as agents for commercial gain from the outset.” Id. The SFO asserted that
it is “beyond reasonable argument that unless properly monitored and controlled, the payment
of commissions is a corruption ‘red flag’ exposing the company to risk. What it may provide
is a convenient smokescreen to deny corporate or individual knowledge of arrangements
conducted overseas.” Id.

       The SFO limited its pursuit of indictment charges against M&J to contracts in Jamaica
and Ghana, even though M&J disclosed corrupt dealings in Madagascar, Angola,
Mozambique, and Bangladesh. AR at 3407. It is noteworthy, however, that the SFO
characterized M&J as engaged in “widespread historical corrupt practices.” AR at 3412.
Because M&J accepted that, “in paying agents large commissions there was a risk that
unknown proportions of those payments might be passed on to public servants as bribes,”
the SFO made the following statement: “in countries with a similar risk of corruption where
M&J operated, such a system must have given rise to an identical risk.” AR at 3406. The
prosecution concluded that “there was a practice of corrupt activity within [M&J] before
2002” that was historically “pervasive” even though the SFO did not prosecute every
manifested instance. See AR at 3442 (emphasis added). This limitation appears to have been
fueled by the SFO’s desire to encourage companies to self-report any discovered fraud or
corruption “with proposals about the changes and monitoring needed in the future.” AR at
3407-08. The SFO was prepared “to discuss with them the pleas or other resolution that the
SFO considers to be in the public interest.” AR at 3408.

       The second noteworthy aspect of the Prosecution Opening Note is the SFO’s
characterization of M&J’s ownership structure. M&J is an affiliate of a group of companies
owned by the Mabey family. AR at 3410. As described in the Prosecution Opening Note:

       The majority shareholder of the Mabey Group is Mabey Family Trustees Ltd.,
       which owns the majority of the shares in Mabey Holdings Ltd., which in turn
       owns Mabey Engineering (Holdings) Ltd., a subsidiary of which is M&J.

Id. Although David Mabey resigned as a director of M&J and Mabey Holdings Ltd. and he
no longer has an executive role, the SFO found: “The reality of the ownership structure of
M&J is that the Mabey family in general, and David Mabey in particular, have at all times
been in exclusive control of the affairs of M&J.” AR at 3411. As shareholders, David
Mabey and his family retained authority to appoint and remove M&J directors. Bevil Mabey,
David Mabey’s father, is the only other family member to have taken an executive role prior
to their resignation. AR at 3410, 3403 (stating Bevil Mabey resigned as a director in 2007).

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        Finally, the SFO favorably recited M&J’s efforts to change policies, add new
leadership, and impose monitoring mechanisms to ensure future compliance. The SFO noted
that M&J replaced its board of directors “and is changing and continues to review its
business practices. It is, to a notable extent, no longer the company that committed these
crimes.” AR at 3407; see also AR at 3410 (“The SFO also [recognizes] that since the
commencement of the investigation[,] M&J has taken certain remediation steps.”). The SFO
attributed the speed with which the SFO was able to conduct its investigation to the
“considerable level of co-operation” it received from M&J’s solicitors. AR at 3409. M&J
“introduced new ethical procedures and agreed to the appointment of an external monitor.”
AR at 3410.

       2. The contracting officer’s responsibility determination

        In a letter dated March 17, 2010, to MBSI, the contracting officer stated that she was
“aware that [M&J] pleaded guilty in 2009 to corruption offenses and was sentenced on 25
September 2009 for corrupt practices.” AR at 575. Because MBL had subsumed M&J’s
contracts in a company reorganization, AR at 584, the contracting officer decided under FAR
9.104-3(c), -4(b), to make a responsibility determination with regard to MBSI and MBSI’s
“affiliate and prospective subcontractor,” MBL, AR at 576. In light of the SFO’s prosecution
and “investigations undertaken concerning similar matters,” she invited MBSI to provide her
with evidence that both companies had “a satisfactory record of integrity and business
ethics,” as defined in FAR 9.104-1(d). Id. The contracting officer suggested that MBSI
“take care to ensure [its] response [was] truly adequate to support a positive conclusion,”
including, for example, “corrective action plans.” Id. (emphasis added). MBSI and MBL
submitted separate responses.

        In its March 26, 2010 response, MBSI denied any involvement, stating that “[i]t is
important to note that MBSI was never party to, and has never been alleged to have been a
party to, the practices for which M&J has been prosecuted.” AR at 582 (emphasis added).
MBSI further disclosed that the “individuals who were involved in the wrongdoing at M&J
are being prosecuted,” including Charles Forsyth, M&J’s Managing Director and MBSI’s
Chairman from 1989 to 2008, who was removed and “has no present role in the management
of MBL, MBSI or their affiliates.” AR at 583. MBSI broadly asserted that “no allegations
have been made which would suggest that any of Mr. Forsyth’s activities at M&J affected
MBSI. Neither MBSI nor any of its current officers and directors has been charged with any
illegal activity.” Id. (emphasis added).

       In addition, MBSI touted its forthright attitude and willingness to meet with the
contracting officer to discuss the M&J prosecution, proclaiming that “we are pleased now
to be given the opportunity to explain that MBSI played no part in the events that led to the

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prosecution of M&J.” AR at 582. Further, MBSI pointed to “the record of new management
and enhanced compliance procedures, monitoring and training” to support a “positive
determination of responsibility.” AR at 583.

       The response from MBL set forth a more detailed explanation of the corrective actions
that MBL undertook to distance itself from the historically corrupt practices of M&J. MBL
explained that, “as part of a wider re-organization of the Mabey Group,” MBL acquired M&J
and another affiliate, Fairfield-Mabey Ltd. AR at 584. Two former directors, Mr. Forsyth
and David Mabey, along with a senior manager that was not named, are being prosecuted.
Mr. Mabey retains a small interest in a parent company and in the Mabey Group, but has
“given a written undertaking that he will not seek to influence the affairs of [M&J] or the
Mabey Group.” AR at 585. The agreement is “to remain in full force until, at the earliest,
7th August 2012.” Id. MBL acknowledged that the Danos counterclaim was the catalyst to
M&J’s internal investigation and voluntary disclosure of historical corrupt practices. Id. (“In
early 2008 in the course of High Court proceedings in the UK by [M&J] against an ex-
employee, the ex-employee made allegations that corrupt payments had been made by
[M&J].”). M&J then undertook corrective measures—“five of [M&J’s] existing directors
stood down,” M&J instructed “its external lawyers to undertake a broad investigation of its
contracts,” and “an independent monitor” was appointed with the approval of the SFO. AR
at 586-87. The independent monitoring agreement went into effect on August 12, 2009, and
continues until August 12, 2012, AR at 546, and MBL was added to the monitoring
agreement, AR at 547.

       Based on these responses, the contracting officer explained in her Memorandum for
Record, dated June 8, 2010, how MBSI had addressed the principal concerns set forth in her
March 17, 2010 letter. The contracting officer stated that her “extensive internet research
did not identify any incidents, other than [M&J’s sentence in the UK for corrupt practices
and for breaching the UN embargo] that [she] needed to consider. Based on having
knowledge of these matters,” she issued her March 17, 2010 request for information. AR at
545. In this way, the contracting officer appeared to narrow her inquiry exclusively to the
events surrounding the SFO’s prosecution of M&J, and not “investigations undertaken
concerning similar matters,” as she requested on March 17, 2010. See AR at 576.

        The contracting officer’s Memorandum for Record acknowledged that M&J began
its investigation “upon an allegation made by an ex-employee that the company had made
corrupt payments”—the Danos counterclaim. AR at 546. She then recited the steps taken
by M&J to rectify its past corruption, which included requiring five members of its board of
directors to step down, pleading guilty to payments of $1.5 million to foreign officials to
obtain contracts valued at $100 million, making reparation payments of $10 million, and
entering an agreement with Global Infrastructure Anti-corruption Centre Limited to act as

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an independent monitor. AR at 546. She stated that a “key point[] from the response [from
MBSI]” that she received was that “MBSI was never a party to and has never been alleged
to be a party to the events that led to the prosecution of M&J.” Id. (emphasis added).
Although the M&J fraud litigation was of concern to the contracting officer, her concerns
were sufficiently assuaged by the responses that 1) M&J, now MBL, had taken corrective
actions to ensure the corruption did not repeat itself, and 2) MBSI was not involved in the
“events that led to the prosecution of M&J.”

       3. Allegations in the Danos counterclaim

         The pertinence of the Danos counterclaim in this bid protest is that plaintiff contends
that the contracting officer should have retrieved it in her “extensive internet search” or read
it as a hyperlink in one of the newspaper articles that she listed in her computer log as having
reviewed. The court admitted the Danos counterclaim as part of the administrative record.
Actually, it is a classic document offered in aid of litigation—plaintiff argues that it should
have been considered. It is true that the contracting officer knew of its existence and general
import. After all, it prompted not only the SFO investigation, but she mentioned it in her
Memorandum of Record. AR at 546. Plaintiff would charge the contracting officer with its
entire contents, including specific mention of MBSI. If she had read the entire document,
plaintiff argues, the contracting officer either would have found MBSI tarnished by being
implicated in the entire fraudulent business practices of M&J or would have realized that
MBSI’s response was evasive and incomplete. As will be discussed, the court rules that the
Danos counterclaim is not part of the information that the contracting officer reviewed or
should have reviewed. The Prosecution Opening Note put her on notice that M&J and its
affiliates were suspect.

       The Danos counterclaim, the catalyst of the SFO prosecution of M&J, generally
recounts Mr. Danos’s involvement in negotiating contracts in several countries—particularly
the commission agreements referenced in the Prosecution Opening Note. The counterclaim
discusses, for example, Mr. Danos’s involvement in the commission agreements with foreign
diplomats in Jamaica, stating “[T]he commission paid on these contracts . . . was at least
12.5% of the value of the goods supplied.” AR at 3622. The Prosecution Opening Note
explains that payments to Jamaican officials were made from November 20, 1993 to October
30, 2001. AR at 3414. “In 2002 [Mabey]—evidently aware of the ramifications of sections
108 and 109 of the Anti-Terrorism, Crime and Security Act 2001 – introduced new anti-
corruption policies and procedures for the conduct of its business.” AR at 3411 (Prosecution
Opening Note). For example, an “Export Committee” was created to ensure “that no corrupt
payments were being made,” AR at 3623; or, rather, to ensure the technical compliance with
the law. Specifically, the Danos counterclaim asserts that Mabey took advice from former
counsel to the Export-Import Bank (the “Ex-Im Bank”) that “commissions over 5% would

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be considered unreasonable (i.e. that Ex-Im would suspect from commission rates over 5%
that there had been ‘bribery or inducements in connection with the contract.’).” AR at 3638-
39. To avoid suspicion, the Export Committee split a “commission of 8.5%” into “5%
commission with a further 3.5% as payment for ‘services.’” AR at 3623. Mr. Forsyth, in
particular, was involved in negotiating the commission-splitting arrangement in Jamaica. AR
at 3623 (attributing order to split the commission agreement to Mr. Forsyth, who “did not
give any explanation as to why it was thought necessary to attribute an element of the
commission to ‘services’”).

        The Danos counterclaim alleges that Mabey personnel attempted to employ this type
of fee-splitting arrangement in negotiating a particular agreement in the Dominican Republic
that involved MBSI and MBSI’s President and director, Geoffrey Booth. 3/ The
counterclaim alleges that Mabey companies had contracts in the Dominican Republic that
paid extravagant commissions to a man named “Mr. Pagan” for years. A total of six projects
were initiated—paying initially a fifteen percent commission, and then a twenty percent
commission thereafter. AR at 3634-35. Mr. Pagan routinely would receive a “confirmation
letter” confirming his twenty-percent commission for each project. The counterclaim implies
that Mr. Forsyth, as well as Mr. Danos, was involved in the negotiations of these contracts.
However, the relationship broke down in 2001, in what the Danos counterclaim terms the
“abortive ‘DR Ex-Im Project.’” AR at 3638.

       The Danos counterclaim asserts that Mr. Pagan was initially to be paid his usual
twenty-percent commission, but that Mabey attempted to “re-label his remuneration, i.e.
purportedly to distinguish between ‘commission’ and ‘services.’” AR at 3636. However,
according to Mr. Danos, “both he and Mabey knew he was not providing any ‘services’ over
and above finding and securing contracts as he had done for the past 15 or so years.” Id.
Negotiations continued, and on March 14, 2003, Mr. Forsyth, who was involved in
negotiating this deal, sent Mr. Danos an e-mail attaching three documents, including the
“‘Mabey Bridge & Shore/Pagan Revised Documentation’ (referred to in the email as an
‘Outline of the arrangements between CTP and MBSI,’” to discuss with Mr. Pagan. AR at



       3/ “Geoff Booth” is introduced in the exhibits as the President and Director of MBSI.
See AR at 3396 (letter from MBSI, on MBSI letterhead, to plaintiff dated June 15, 2009, in
which Geoff Booth signs his name as “President”); AR at 3399-40 (letter from MBSI, on
MBSI letterhead, to plaintiff dated May 8, 2009, in which Geoff Booth signs his name as
“President”). MBSI now, without explanation, contends that “Mr. Booth is not MBSI’s
President,” MBSI’s Br. filed Nov. 12, 2010, at 29 n.8, although a document appearing to be
a Mabey company organizational chart submitted by MBSI to the contracting officer dated
March 2, 2010, lists “G.Booth” as an officer of MBSI. See AR at 579.

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3640. Mr. Pagan did not want to split the payment between “commission” and “services,”
and negotiations continued. AR at 3640. In the minutes of an April 15, 2003 meeting, Mr.
Forsyth circulated a draft agreement, and “after lengthy discussion it was agreed that while
there was general agreement in principle on how the service agreement should be structured
there was some divergence of opinion on the details and item coverage. . . . GWB (i.e.[,] Mr.
Geoffrey Booth, a director of MBSI) to respond to RCEF (i.e.[,] Mr. Forsyth) within 48
hours.” AR at 3640. The counterclaim outlines further negotiations by which Mabey
employees and Mabey’s attorneys attempted to negotiate a deal that included a service
agreement for services the company maintained that Mr. Pagan always had performed.
However, the Danos counterclaim throughout alleges that these were fictitious services and
that no services were performed under the first five contracts. AR at 3642. For this reason,
when David Mabey met with Mr. Pagan on July 24, 2003, a contract was not reached and the
parties parted ways. AR at 3642-43.

       4. Award of contract and subsequent proceedings

        TACOM notified plaintiff via e-mail on June 8, 2010, that the award would go to
MBSI. At the June 16, 2010 oral debriefing requested by plaintiff, TACOM reported: “As
part of [the] responsibility determination process, particular attention was placed on the
integrity and business ethics portion of the standards,” especially with regard to the M&J
fraud litigation. 4/ AR at 3349. However, plaintiff and MBSI were rated equivalently in
each of the subject areas evaluated under the Solicitation except in price—Acrow submitted
a proposal to complete the project for [deleted] and MBSI’s bid was for [deleted]. AR at
3324. MBSI ultimately received the award because “[b]oth offerors are essentially equal in
Experience, Technical, and Small Business Participation, but the MBSI proposal is
significantly lower in Total Evaluated Price than that of Acrow. . . . The MBSI proposal is
reasonable, realistic and affordable; and MBSI has been determined to be a responsible
contractor.” AR at 3365 (Memorandum of Source Selection Decision).

        Plaintiff protested the award before the Government Accountability Office (the
“GAO”), but was ultimately unsuccessful. The GAO determined that “[t]he record . . . shows
. . . that the contracting officer was aware of, and considered, available information



       4/ A power-point printout of this debriefing was provided post-award. It is part of
the administrative record because neither party sought to exclude it. The court consults this
material only insofar as it recites public statements by the contracting officer relating to her
decisionmaking process. However, her June 8, 2010 Memorandum of Source Selection
Decision, which explained the basis for her responsibility determination, makes the same
point. See AR at 3365.

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concerning M&J’s 2009 conviction for corrupt practices and MBSI’s and MBL’s relationship
to M&J.” AR at 3482.

         On October 8, 2010, plaintiff filed the pending protest before the United States Court
of Federal Claims. After the court consolidated plaintiff’s Motion for Preliminary Injunction
with the parties’ cross-motions for judgment on the administrative record, see Order entered
October 14, 2010, and adopted the parties’ agreed-upon briefing schedule, defendant filed
the administrative record on October 19, 2010. Plaintiff moved for judgment on the
administrative record on October 29, 2010; defendant’s and defendant-intervenor’s cross-
motions were filed on November 15, 2010, and November 12, 2010 respectively; plaintiff
filed its response and reply on November 29, 2010; and defendant and defendant-intervenor
replied on December 3, 2010. Argument was held on December 7, 2010.

                                       DISCUSSION

       1. Standard of review

        The Administrative Dispute Resolution Act of 1996, Pub. L. No. 104-320, § 12, 110
Stat. 3870, 3874 (codified at 28 U.S.C. § 1491(b)) (the “ADRA”), amended the Tucker Act,
28 U.S.C. § 1491(b)(1) (2006), granting the United States Court of Federal Claims
jurisdiction over bid protests. See Res. Conservation Grp., LLC v. United States, 597 F.3d
1238, 1243 (Fed. Cir. 2010); Impresa Construzioni Geom. Domenico Garufi v. United States,
238 F.3d 1324, 1330-32 (Fed. Cir. 2001) (“Domenico Garufi”). The ADRA’s standard of
review for agency procurement decisions adopted the standard of review set forth in the
Administrative Procedure Act, 5 U.S.C. § 706 (2006) (the “APA”). See 28 U.S.C.
§ 1491(b)(4). The court has authority under the APA to set aside only an agency action that
is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.” 5
U.S.C. § 706(2)(A); see PGBA, LLC v. United States, 389 F.3d 1219, 1224-28 (Fed. Cir.
2004) (clarifying that ADRA incorporates arbitrary and capricious standard of APA to review
procurement decisions); see also Domenico Garufi, 238 F.3d at 1332-33 (making applicable
the standards applied in Scanwell Labs., Inc. v. Shaffer, 424 F.2d 859 (D.C. Cir. 1970), and
its progeny to bid protests). However, establishing that an agency violated the APA standard
of review does not entitle a protestor to relief; the error also must be prejudicial. Galen Med.
Assocs., Inc. v. United States, 369 F.3d 1324, 1330 (Fed. Cir. 2004) (clarifying that, in
addition to significant error in procurement process, plaintiff must show error was
prejudicial).

        Accordingly, the Federal Circuit applies a two-step analysis. First, the court must
determine whether the Government acted without a rational basis (whether the action was
arbitrary or capricious), or whether the Government acted contrary to law (whether

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government action constituted a prejudicial violation of an applicable procurement
regulation). See Domenico Garufi, 238 F.3d at 1332. In either case a plaintiff bears the
heavy burden of proving a lack of rational basis or a violation of the law. Id. at 1333.
Second, if the government action lacked a rational basis, a factual inquiry must be conducted
to determine whether the protester was prejudiced by the conduct. See Bannum, Inc. v.
United States, 404 F.3d 1346, 1351 (Fed. Cir. 2005).

        A rational basis requires “the contracting agency [to] provide[] a coherent and
reasonable explanation of its exercise of discretion.” Domenico Garufi, 238 F.3d at 1382
(citation omitted) (internal quotation marks omitted). The court’s role in a bid protest,
including ascertaining the existence of a rational basis, is not to substitute its judgment for
the agency; indeed, the agency generally is accorded wide discretion in evaluating bids. See
Citizens to Preserve Overton Park, Inc., v. Volpe, 401 U.S. 402, 416 (1971) (stating a court
should not “substitute its judgment for that of the agency”), overruled on other grounds by
California v. Sanders, 430 U.S. 99 (1977); CHE Consulting, Inc. v. United States, 552 F.3d
1351, 1354 (Fed. Cir. 2008); Grumman Data Sys. Corp. v. Widnall, 15 F.3d 1044, 1046 (Fed.
Cir. 1994); see also Camp v. Pitts, 411 U.S. 138, 142-43 (1973) (holding that courts should
review agency record to determine if agency’s decision is supported by a rational basis).
Under the “highly deferential rational basis review,” Savantage Fin. Servs., Inc. v. United
States, 595 F.3d 1282, 1286 (Fed. Cir. 2010) (quoting CHE Consulting, 552 F.3d at 1354)
(internal quotation marks omitted), the court “must sustain an agency action unless the action
does not ‘evince[] rational reasoning and consideration of relevant factors,’” id. (alteration
in original) (quoting Advanced Data Concepts, Inc. v. United States, 216 F.3d 1054, 1058
(Fed. Cir. 2000)). The court should afford particular deference to an agency decision
regarding contracts “awarded to the bidder or bidders that will provide the agency with the
best value,” Banknote Corp. of Am., Inc. v. United States, 365 F.3d 1345, 1355 (Fed. Cir.
2004), and in responsibility determinations, which “are largely a matter of judgment,” Bender
Shipbuilding & Repair Co. v. United States, 297 F.3d 1358, 1362 (Fed. Cir. 2002) (citation
omitted) (internal quotation marks omitted).

       2. Burden of proof

      The parties filed cross-motions for judgment on the administrative record pursuant to
RCFC 52.1. This rule provides a procedure allowing the court to expedite a trial by using
a “paper record” to conduct fact finding. Bannum, 404 F.3d at 1356. Unlike a motion for
summary judgment, a genuine dispute of material fact does not preclude a judgment on the
administrative record. Id. at 1355-56. The parties are restricted to the agency record and any




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supplementation consistent with RCFC 52.1. 5/ Findings of fact made by the court are
consistent with those that would be made during trial. Id. at 1357.

        Adoption of the APA substantive standard of review did not change the court’s
standard for granting injunctive relief. See PGBA, 389 F.3d at 1224-28 (clarifying that
ADRA incorporates arbitrary and capricious standard of APA to review procurement
decisions, but did not change court’s discretion in granting remedy of injunctive relief). The
Federal Circuit requires a protestor to establish that “(1) the plaintiff has succeeded on the
merits, (2) the plaintiff will suffer irreparable harm if the court withholds injunctive relief,
(3) the balance of hardships to the respective parties favors the grant of injunctive relief, and
(4) the public interest is served by a grant of injunctive relief.” Centech Grp., Inc. v. United
States, 554 F.3d 1029, 1037 (Fed. Cir. 2009).

       3. Contracting officer’s authority

       FAR 9.103 mandates that “contracts shall be awarded to[] responsible prospective
contractors only” and charges a contracting officer to make an “affirmative determination of
responsibility,” FAR 9.103(a), (b). Part of the determination is ensuring that a prospective
contractor has “a satisfactory record of integrity and business ethics.” FAR 9.104-1(d). A
responsibility determination may include parties beyond the immediate prospective
contractor, including a “prospective subcontractor” when the subcontractor’s responsibility
“may affect the Government’s determination of the prospective prime contractor’s
responsibility,” FAR 9.104-4(a), and also an “affiliate’s past performance and integrity when
they may adversely affect the prospective contractor’s responsibility,” FAR 9.104-3(c).
Regardless of which entities are included, “[a] prospective contractor must affirmatively
demonstrate its responsibility, including, when necessary, the responsibility of its proposed
subcontractors.” FAR 9.103(c). “In the absence of information clearly indicating that the
prospective contractor is responsible, the contracting officer shall make a determination of
nonresponsibility.” FAR 9.103(b).




        5/ The parties filed various motions and briefs requesting record supplementation
prior to completion of the parties’ briefing on their cross-motions for judgment on the
administrative record. The court issued orders on November 5, 2010, and November 12,
2010, addressing the requests for record supplementation. Subsequently, plaintiff filed a
second motion to supplement the administrative record on December 3, 2010. The court
addresses this motion and clarified and summarized the two previous orders on this matter
in its order on supplementation separately issued this date.

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       The FAR equips contracting officers with the ability to “obtain information sufficient”
to make a responsibility determination. FAR 9.105-1(a). These regulations establish a
procedure under which the contracting officer has broad discretion and authority in making
a responsibility decision and identifying the best awardee for a particular contract—not
necessarily the lowest bidder. John C. Grimberg Co. v. United States, 185 F.3d 1297, 1303
(Fed. Cir. 1999) (holding contracting officer’s purview to include “what, and how much,
information he needs”); Bender Shipbuilding, 297 F.3d at 1362 (“Contracting officers are
generally given wide discretion in making responsibility determinations and in determining
the amount of information that is required to make a responsibility determination.” (quoting
Domenico Garufi, 238 F.3d at 1334-35) (internal quotation marks omitted)); see also FAR
9.103(c) (recognizing that “award of a contract to a supplier based on the lowest evaluated
price can be false economy”).

       4. Plaintiff’s challenge to the award

        Plaintiff protests the award on the ground that the contracting officer should not have
determined MBSI and MBL responsible because they lack “a satisfactory record of integrity
and business ethics.” FAR 9.104-1(d). Plaintiff asserts that there is an “absence of
information clearly indicating that the prospective contractor is responsible,” FAR 9.103(b),
so that the contracting officer should have found MBSI and MBL non-responsible.

        Plaintiff’s attack on the contracting officer’s determination that MBSI and MBL were
responsible offerors has two factual predicates. The first set of facts arises out of the M&J
guilty plea and the SFO investigation that led to that guilty plea. Although TACOM’s
debriefing stressed that “particular attention was placed [by the contracting officer] on the
integrity and business ethics portion of the standards” because of the M&J fraud litigation,
AR at 3349, plaintiff asserts that the contracting officer failed to appreciate fully the scope
of M&J and its affiliates’ corruption. The SFO investigation focused on bribery allegations
in Jamaica and Ghana, but M&J’s corruption expanded to many countries, including the
Phillippines; Papau, New Guinea; Costa Rica; Panama; and the Dominican Republic.
Plaintiff charges that the scope of corruption is attributable directly to MBSI because of
MBSI’s close affiliation to M&J. Further, plaintiff asserts that MBSI was involved directly
in bribery activities, as recounted in the Danos counterclaim and in contradiction to
statements made by MBSI. Plaintiff alleges that the contracting officer 1) should have been
required to review the Danos counterclaim, Pl.’s Br. filed Oct. 29, 2010, at 18, and 2) should
have been prohibited from determining MBSI and MBL responsible because the allegations
involving MBSI in the Danos counterclaim demonstrate that MBSI made an “indisputably
false” statement to the contracting officer upon which she relied, see Pl.’s Br. filed Nov. 29,
2010, at 3, 8-10. Defendant and MBSI dispute all the above contentions, and their positions
are set forth below.

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        Plaintiff titles the events that comprise the second factual predicate upon which
plaintiff basis its arguments as “MBSI’s recent [corporate] espionage.” See Pl.’s Br. filed
Oct. 29, 2010, at 8. Plaintiff alleges that MBSI sent an employee to plaintiff’s warehouse,
under the guise of attempting to visit a former co-worker, when MBSI knew the Army was
conducting tests on plaintiff’s bridges. Id. Plaintiff also alleges that MBSI chartered a plane
that flew over the testing site several times. Id. Plaintiff asserts that the contracting officer
failed to consider or fully appreciate these incidents, as she failed to mention them in her
Memorandum for Record, which plaintiff contends, would have rendered MBSI non-
responsible. Id. at 31. 6/




        6/ Plaintiff further charges that, by failing to properly consider both sets of facts, the
contracting officer violated her duty of good faith and fair dealing, which justifies injunctive
relief. Pl.’s Br. filed. Oct. 29, 2010, at 35-38. Specifically, plaintiff asserts that it is entitled
to “contract award, resolicitation of contract, bid preparation and proposal costs, and/or
attorneys’ fees.” Compl. ¶¶ 127, 132. The alleged harm, however, was caused by the
contracting officer’s failure to “disqualify MBSI as a responsible offeror,” the same action
for which plaintiff contends it is entitled to injunctive relief. Id. ¶ 124.

        To the extent that plaintiff makes its arguments under 28 U.S.C. § 1491(b), the court
will address the merits of plaintiff’s claims infra. MBSI astutely points out that plaintiff
cannot pursue an implied-in-fact contract remedy under 28 U.S.C. § 1491(a) because it is
pursuing a bid protest remedy. See MBSI’s Br. filed Nov. 12, 2010, at 41. This undersigned
judge has long held the opinion that the amendment of § 1491(b)(1), “obviates the need for
the implied-contractual theory,” and that bid protest claims should be brought under
§ 1491(b). See Lion Raisins, Inc. v. United States, 52 Fed. Cl. 115, 120 (2002). The Federal
Circuit recently affirmed in Resource Conservation, 597 F.3d 1238, that, while § 1491(a)
continues to provide a basis for nonprocurement cases, a protestor cannot bring an implied-
in-fact contract claim under 28 U.S.C. § 1491(a) if it seeks relief under 28 U.S.C.
§ 1491(b)(1) because “Congress intended the 1491(b)(1) jurisdiction to be exclusive where
§ 1491(b)(1) provided a remedy (in procurement cases).” Res. Conservation, 597 F.3d at
1246; see also Metro. Van & Storage, Inc. v. United States, 92 Fed. Cl. 232, 249 n.7 (2010).
Plaintiff seeks injunctive relief and “bid preparation costs,” two remedies provided for under
§ 1491(b)(1), (2). (“To afford relief [under § 1491(b)(1)], the courts may award any relief
that the court considers proper, including . . . injunctive relief except that any monetary relief
shall be limited to bid preparation and proposal costs.” 28 U.S.C. § 1491(b)(2)).
Accordingly, the remedies that plaintiff seeks are provided for in § 1491(b), which
constitutes plaintiff’s sole statutory basis for relief.

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       5. Whether the contracting officer relied on a misrepresentation that would lead to
          a finding that her responsibility determination was arbitrary and capricious

        Plaintiff contends that the contracting officer’s responsibility determination was
arbitrary and capricious in that she relied on the misrepresentations made by MBSI in its
March 26, 2010 letter. Pl.’s Br. filed Nov. 29, 2010, at 3. More specifically, plaintiff
contends that MBSI’s statement that the company “was never alleged to have been a party
to the practices for which M&J was prosecuted,” was misleading, given that the Danos
counterclaim alleges that MBSI and Mr. Booth were involved in MBSI’s negotiations with
Mr. Pagan in the Dominican Republic. Id. at 3-4. Defendant and MBSI not only deny that
the Danos counterclaim alleges that MBSI was involved in any bribery schemes, but they
also deny that MBSI made any inaccurate statements to the contracting officer. See MBSI’s
Br. filed Nov. 12, 2010, at 31 (“MBSI told the truth.”).

              1) Allegations relating to MBSI in the Danos counterclaim

        Plaintiff contends that the Danos counterclaim “alleges the involvement of MBSI and
its current president [Mr. Booth] in a bribery effort in the Dominican Republic that is
identical to the modus operandi of M&J in other countries, and involved MBSI’s chairman,
who was also the managing director of M&J.” Pl.’s Br. filed Nov. 29, 2010, at 4. According
to plaintiff, the Danos counterclaim implicates MBSI and Mr. Booth as participants in a
scheme to split commission payments—“payments to allow its local agents to funnel money
to local public officials in return for contract awards”—between a commission payment and
payment for local services, “even though [they] knew the agent [they were paying] was
providing no local services.” Id. at 5-6. Defendant and MBSI demur. Both parties
characterize the Danos counterclaim as evidence of an effort to “comply” with the anti-
corruption laws and the reason the deal fell apart. See MBSI’s Br. filed Nov. 12, 2010, at
30; Def.’s Br. filed Nov. 15, 2010, at 3-4 (“There is only a single, brief reference to MBSI
in the Danos counterclaim which does not implicate MBSI in any wrongdoing. . . . Far from
incriminating MBSI, this portion . . . indicates that with this particular transaction M&J and
MBSI wanted the deal to comply with the United States Foreign Corrupt Practices Act [(the
“FCPA”)].”). MBSI points to a June 27, 2003 e-mail cited in the Danos counterclaim in
which Mr. Danos states: M&J “‘expressed a concern regarding the commission amount due
to the new legislation,’” that resulted in the company being unable to provide Mr. Pagan
“‘with an agreement acceptable within M&J let alone Pagan.’” MBSI’s Br. filed Nov. 12,
2010, at 30 (quoting Compl. Ex. 10 ¶ 71.9). MBSI notes that M&J’s outside counsel drafted
and reviewed the draft Dominican Republic agreements and counseled that both Mr. Pagan
and M&J’s interests should align in ensuring that “‘all transactions fall clearly within the
scope of the FCPA and other equivalent legislation.’” Id. (quoting Compl. Ex. 10 ¶ 71.11).



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        The court agrees with plaintiff, not in that MBSI was necessarily involved in a bribery
scheme, but that the Danos counterclaim alleges that MBSI participated in an attempt to
negotiate an agreement that purported to pay a smaller commission fee than actually would
be paid. The Danos counterclaim alleges that MBSI was involved in a contract that failed,
but attempted to, perpetrate a fraud. The counterclaim explicitly characterizes, for example,
Mr. Forsyth’s attempt to separate out “commission” from “services” that Mr. Pagan would
perform as an attempt to “re-label his remuneration, i.e., purportedly to distinguish between
‘commission’ and ‘services.’” AR at 3636. The counterclaim further alleges that “both [Mr.
Pagan] and Mabey knew that he was not providing any ‘services’ over and above finding and
securing contracts as he had done for the past 15 or so years.” Id. This assertion stands in
stark contrast to Mabey’s assertions in a cover letter sent from Mr. Forsyth to Mr. Pagan,
along with the MBSI draft agreements, that “commissions paid on previous contracts have
always included payment for local services including various civil works and provision of
local facilities for Mabey staff.” AR at 3642. It is not for the court to consider the legitimacy
of the argument. It is enough that the Danos counterclaim disclaims that legitimate premise
as unfounded. Id. (indicating that Mr. Forsyth knew that some of the words in the cover
letter were untrue and that “[t]he 1st to 5th DR Projects were for the supply only of bridges,
and there were no ‘local services including various civil works and provision of local
facilities for Mabey staff’”). The Danos counterclaim maintained that Mr. Pagan was paid
an initial fifteen-percent commission on the first contract and twenty percent thereafter. AR
at 3634-35.

        MBSI was involved in that the proposed Dominican Republic deal could have had
Mr. Pagan sign an agreement with MBSI and that MBSI director Mr. Booth could have
played a role. AR at 3639 (alleging that Mr. Forsyth e-mailed Mr. Danos “Mabey Bridge
Shore/Pagan Revised Documentation”). The proposed documentation included a five-
percent commission agreement that would be coupled with various “‘services’ to bring the
total remuneration to US $20 million.” AR at 3640. In total, the proposed agreement with
MBSI was valued at $125 million—$100 million for the supply contract and $25 million for
the “Local Civils Contract.” Id. Therefore, the “total remuneration” that Mr. Pagan was to
receive equaled twenty percent of the $100 million Supply Contract. The court agrees with
plaintiff that “[i]t is simply incredible to suggest that Mr. Danos, amidst his scathing
accusations against M&J, has included discussion of one project that shows M&J’s efforts
to comply with the law.” Pl.’s Br. filed Nov. 29, 2010, at 7 (emphasis omitted). A more
plausible reading of the Danos counterclaim is that it alleges that the aborted Ex-Im deal was
an attempt to structure an exorbitant commission payment so as not to draw the suspicion of
the Ex-Im Bank. Insisting that he did not provide any “services,” Mr. Pagan refused to go
through with the deal.




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              2) Representations in MBSI’s March 26, 2010 letter

       Resolution of what the Danos counterclaim alleges is important in that it bears on the
issue of whether the contracting officer relied on a false statement made by MBSI. In a letter
dated March 17, 2010, to MBSI, the contracting officer initially invited MBSI to provide her
with evidence that both MBL and MBSI had “‘a satisfactory record of integrity and business
ethics’” as defined in FAR 9.104-1(d), in light of the SFO’s prosecution and “investigations
undertaken concerning similar matters.” AR at 575-76 (quoting FAR 9.104-1(d)). The
contracting officer suggested that MBSI “take care to ensure [its] response [was] truly
adequate to support a positive conclusion,” including, for example, “corrective action plans.”
Id.

        This letter reveals that the M&J fraud litigation was of serious concern to the
contracting officer. Because “[a]ffiliated concerns . . . are normally considered separate
entities,” FAR 9.104-3(c), the contracting officer sought to understand not only the level of
corrective action that M&J, later MBL, had taken, but how the actions of MBSI’s affiliates
could affect the MBSI responsibility determination. Put another way, how closely connected
are the affiliated entities, and how closely connected was MBSI to the M&J fraud? The
precise scope of the contracting officer’s inquiry is significant: she requested evidence
supporting a responsibility determination in light of “investigations undertaken concerning
similar matters” to the SFO prosecution. AR at 576. She expressly alerted MBSI of her
concern with behavior beyond the activities that the SFO had prosecuted. At the same time,
the contracting officer also indicated that she would place weight on any “corrective action
plans” taken by MBSI and MBL. Id.

       The parties’ divergent views of whether this letter is a misstatement stem from
MBSI’s precise wordsmithing and the contracting officer’s use of narrower language. In
response to the contracting officer’s March 17, 2010 inquiry, MBSI stated that “[i]t is
important to note that MBSI was never party to, and has never been alleged to have been a
party to, the practices for which M&J has been prosecuted.” AR at 582. While plaintiff
contends that “based on the Danos counterclaim, that statement is undeniably false,” Pl.’s Br.
filed Oct. 29, 2010, at 13, MBSI claims that it “told the truth. The SFO did not allege any
bribery scheme on the Dominican Republic project, much less assert MBSI’s complicity in
such a scheme.” MBSI’s Br. filed Nov. 12, 2010, at 31.

       Lining up MBSI’s statement—MBSI was never “alleged to have been a party to, the
practices for which M&J has been prosecuted,” AR at 582 (emphasis added)—against the
Danos counterclaim indicates that MBSI’s statement was inaccurate. The Danos
counterclaim alleges that MBSI was involved in an attempted fraud scheme, whereby

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exorbitant commissions of twenty percent were paid outright by M&J until MBSI attempted
to initiate a structure to split the commission into a commission and service agreement in
order to conceal the high commission payment. The Danos counterclaim describes how this
similar “practice” took place in conjunction with the Jamaican commission payments, for
which the SFO prosecuted M&J. Compare AR at 3623 (Danos counterclaim, recounting Mr.
Forsyth’s orders to re-label the commission payments to Jamaican officials as both
commission and service agreements), with AR at 3642 (Danos counterclaim, alleging that
Mr. Pagan had never preformed “services” in connection with his commission payments in
the first five Dominican Republic transactions); see also AR at 3414 (Prosecution Opening
Note, stating that M&J paid Jamaican agent twelve and one-half percent of contract price;
and further that “it is accepted by M&J that [the agent] was involved in corrupt activity”);
AR at 3442 (Prosecution Opening Note, explaining that there was a “practice of corrupt
activity within [M&J]” that was historically “pervasive” (emphasis added)).

        MBSI’s additional statement that “no allegations have been made which would
suggest that any of Mr. Forsyth’s activities at M&J affected MBSI,” may contribute to the
confusion. AR at 583. What MBSI may have meant by “affected” is unclear. What is clear
is that the Danos counterclaim alleges that Mr. Forsyth, along with M&J, was involved in
negotiating a deal with Dominican Republic representative Mr. Pagan for which Mr. Pagan
was to be paid through commission and service agreements executed by MBSI and with input
from MBSI director Mr. Booth. AR at 3640. Mr. Danos implies that the service agreements
were designed to shield the participants from suspicion by the Ex-Im Bank, that the agents
for the contracts were involved in bribery, and that they in no way reflected an actual
exchange of services. AR at 3636 (“Mr. Pagan did not wish to be remunerated by reference
to ‘services’ when both he an Mabey knew that he was not providing any ‘services’ over and
above finding and securing contracts as he had done for the past 15 or so years.”); AR at
3642 (alleging that there were no services provided in first five contracts). Regardless of
whether MBSI actually closed the deal or not, the Danos counterclaim contains an allegation
that Mr. Forsyth’s actions at M&J, similar actions Mr. Danos alleges were employed in
Jamaica, affected MBSI.

              3) Reliance by the contracting officer on the inaccurate statements

       Reliance on a misrepresentation is of critical importance because “[i]t is well-
established that a contracting officer should consider disqualifying a proposed contractor if
a material misrepresentation is made.” Domenico Garufi, 238 F.3d at 1339. The Federal
Circuit favorably cited two Comptroller General decisions that offer guidance as to what it
means for a misrepresentation to be material. Tucson Mobilephone, Inc., B-258408, 1995
WL 335101 (Comp. Gen. June 5, 1995), tied materiality into a contracting officer’s reliance
on a misrepresentation, stating that “[a] misrepresentation is material where an agency has

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relied upon the misrepresentation and that misrepresentation likely had a significant impact
upon the determination.” Id. at *6. Similarly, Ppathi, Inc., B-249182, 1993 WL 25128
(Comp. Gen. Jan. 26, 1993), articulated the standard by which a contracting officer can
cancel an awarded contract, as follows: “When a contracting official discovers an
impropriety . . . the official may terminate the contract . . . . The contracting official need
only show that the impropriety ‘might have affected the award decision.’” Id. at *3 (citation
omitted). Both decisions underscore the contracting officer’s reliance on the misstatement
in making her responsibility determination, as do the facts of Domenico Garufi.

        The contracting officer in Domenico Garufi rated a potential contractor responsible
even though the contractor’s principal was found by an Italian court in 1997 to have been
“involved in intimidating a competitor into withdrawing from a bid.” 238 F.3d at 1328. The
individual convicted, Carmelo La Mastra, controlled two companies that, in turn, along with
a company controlled by Mr. La Mastra’s brother, comprised the ownership of the awardee,
a joint venture. Id. at 1327-28. Following Mr. La Mastra’s conviction, all three companies
were put into a receivership to be run by a legal administrator. Id. at 1328. When the
awardee joint venture bid on a proposal in 1998, it certified that neither it nor its principals
had been convicted or had a civil judgment levied against them for the “commission of fraud
or a criminal offense in connection with obtaining, attempting to obtain, or performing a
public . . . contract.” Id. at 1329 (internal quotation marks omitted). The plaintiff challenged
the responsibility determination as arbitrary and capricious based on the joint venture’s
failure to report the 1997 receivership proceeding and another indictment of Mr. La Mastra.
See id. at 1339. Because “the record [did] not include any articulation of what the
contracting officer concluded when he reviewed the certification,” the court concluded that
“we must require an explanation by deposition of the contracting officer’s reasons for
accepting the certification,” id. at 1340, and questioned in particular, “whether the
contracting officer, as required by [FAR 9.105-1(a)], possessed or obtained information
sufficient to decide the integrity and business ethics issue, including the issue of control,
before making a determination of responsibility,” id. at 1339.

         On remand, the Court of Federal Claims determined that, while the contracting officer
generally knew about the receivership proceeding and that the awardee was controlled by a
receivership, Impresa Construzioni Geom. Domenico Garufi v. United States, 52 Fed. Cl.
421, 427 (2002) (“Domenico Garufi II”), he had not read the agreement and did not know
that it failed to bar Mr. La Mastra from acting on behalf of the awardee, id. at 426. He did
not know that Mr. La Mastra controlled two of the companies in the joint venture, or that
these two companies gave signatory authority to his son. Id. at 425. The contracting officer
admitted that “having knowledge that Carmelo La Mastra was a company principal ‘would
certainly have [had] a major bearing on what [he] would do.’” Id. at 426 (alteration in
original). Accordingly, the court responded that, “[b]ecause he lacked sufficient information

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to be in a position to make the assumptions that he did and because he failed to make an
affirmative assessment of [the awardee’s] responsibility, the court cannot find that the
contracting officer conducted a reasonable responsibility determination.” Id. at 428.

        Reliance can be argued as important in refocusing on the basic task before the court:
was the contracting officer’s responsibility determination arbitrary and capricious, i.e., was
it rational? Inaccurate statements themselves—that are not relied upon by the contracting
officer—logically cannot cause the determination to be irrational. Furthermore, the parties
have not argued any Federal Circuit precedent that a contracting officer is obligated to render
the potential contractor non-responsible for a misstatement.

        In comparing the decisional law to the instant case, and in examining the contracting
officer’s Memorandum for Record that details the rationale supporting her responsibility
determination, the court finds that the contracting officer did not rely on MBSI’s inaccurate
statements. Although the contracting officer received a non-responsive answer to her
initially broad inquiry, she narrowed the scope of her concern in her Memorandum for
Record, stating that “a key point[] from the response [from MBSI] that [she] received was
that MBSI was never a party to and has never been alleged to be a party to the events that led
to the prosecution of M&J,” AR at 546 (emphasis added), not just the broadly termed
“practices for which M&J has been prosecuted” as articulated in MBSI’s response, AR at
582. In this way, the contracting officer made clear that she was basing her assessment on
the fact that MBSI was not alleged to be party to the specific events in Jamaica and Ghana
that led to M&J’s prosecution, not “practices” that led to the prosecution. Nothing in the
record contradicts the accuracy of this statement, and the court must accept it at face value.
MBSI was not involved in the specific events that led to the SFO prosecution.

       The court finds further evidence that the contracting officer narrowed her scope of
concern in the introductory language in her Memorandum for Record that she uses to
describe her research. The contracting officer stated that her “extensive internet research did
not identify any incidents, other than [M&J’s sentence in the UK for corrupt practices and
for breaching the UN embargo] that [she] needed to consider. Based on having knowledge
of these matters,” she issued her March 17, 2010 request for information. AR at 545. In this
way, the contracting officer limits her concern to the events surrounding the SFO’s
prosecution of M&J, and not the broader inquiry into “investigations undertaken concerning
similar matters” that she requested on March 17, 2010. See AR at 576.

         The shift in the contracting officer’s concern is pivotal in that it signals to the court
a departure from MBSI’s inaccurate statements. The court is bound to construe the language
used in the contracting officer’s Memorandum for Record, not inaccurate statements made
to her, in determining what the contracting officer relied on, and these statements consistently

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limit her concern to the events for which the SFO prosecuted M&J, not the more general
“practices” that led to the prosecution. Therefore, the misrepresentation cannot be said to be
material to her analysis, and it does not render her decision arbitrary and capricious.

       6. The contracting officer was not required to consider the Danos counterclaim

         Plaintiff argues that the contracting officer failed to provide a complete review,
contending that her “extensive internet search” failed to uncover a “wealth of [] information”
(including the Danos counterclaim) that would have led her to discover a “broader scope of
corruption.” Pl.’s Br. filed Nov. 29, 2010, at 12. With regard to specific documents, plaintiff
posits that the contracting officer could have obtained the Danos counterclaim and the SFO
Prosecution Opening Note because they were “readily available through a simple internet
search.” Pl.’s Br. filed Oct. 29, 2010, at 12. Plaintiff further charges the contracting officer
with the information contained in the Danos counterclaim because plaintiff allegedly gave
it to the contracting officer’s colleague and fellow member of the Technical Evaluation Panel
David W. Marck, Product Manager Bridging, U.S. Army. Id. Plaintiff cites OSG Product
Tankers LLC v. United States, 82 Fed. Cl. 570, 577-84 (2008); Domenico Garufi II, 52 Fed.
Cl. at 424-25; Watts-Healy Tibbits, A JV v. United States, 82 Fed. Cl. 614, 618 (“Watts-
Healy I”) (order entering preliminary injunction), modified, 82 Fed. Cl. 603 (2008); and
Southwestern Bell Telephone Co., B-292476, 2003 WL 22380947 (Comp. Gen. Oct. 1,
2003), for the proposition that the “failure to verify information and the failure to investigate
representations of the subject of the responsibility determination result[] in an unreasonable
responsibility determination.” Pl.’s Br. filed Oct. 29, 2010, at 24. Plaintiff’s statement
misinterprets the above cited case law, and each of these cases is distinguishable from the
instant matter.

        The decisional law, both in the Court of Federal Claims and from the GAO, articulates
a standard by which the contracting officer must be informed about the matters on which she
bases her decision. In Domenico Garufi II, the court held the contracting officer’s lack of
knowledge as to what rights were granted in a receivership agreement was a dispositive
factor showing arbitrariness and capriciousness. 52 Fed. Cl. at 427. This factor was
important because the contracting officer did not know who controlled the company, and the
contracting officer admitted that “having knowledge that Carmelo La Mastra was a company
principal ‘would certainly have [had] a major bearing on what [he] would do.’” Id. at 426
(alteration in original). The court’s ruling was based on the contracting officer’s insufficient
information that led to faulty assumptions that could not support a reasonable responsibility
determination. Id. at 428.

       Similarly, in Southwestern Bell the Comptroller General sustained a protest where the
contracting officer had not evaluated the awardee’s record of integrity. See 2003 WL

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22380947, at *4, *8. The contracting officer in Southwestern Bell failed to take into
consideration the fact that the principals of the awardee were charged by the Securities &
Exchange Commission (the “SEC”) with fraud, id. at *4, and even though the awardee was
spun off from its original parent company (which had been charged by the SEC), the charged
family, or entities controlled by the charged family, remained the majority shareholders. Id.
at *3. Although the contracting officer generally was aware of the allegations about the
former parent company and principals, he did not understand that the principals still
possessed control over the awardee. Id. at *7. The contracting officer, moreover, failed to
include any documents in his contract file that would support a responsibility determination.
Id.; see also id. at *6 (“Although the contracting officer is not required to explain the basis
for his or her responsibility determination, ‘[d]ocuments and reports supporting a
determination of responsibility or nonresponsibility . . . must be included in the contract
file.’” (alterations in original) (quoting FAR 9.105-2(b))). Finally, the awardee falsely
certified that none of its principals had been indicted within the last three years, a common
factual thread through all of the cases cited by plaintiff and a distinguishing factor in the
instant matter. See id. at *8. Because it was not clear whether the awardee intended to
misrepresent itself or even what impact the false certification had on the award, the GAO
recommended that the Government reconsider the decision. Id.

       In Watts Healy I, the awardee violated FAR 52.209-5 by failing to state that it had
violated Japanese bid rigging law. 82 Fed. Cl. at 616, 618. The contracting officer
determined that, “because bid rigging is common in Japan, it does not rise to a level serious
enough to render the corporation not responsible.” Id. at 618. Uncomfortable with the
contracting officer’s flippant response to a violation of a law, the court entered a preliminary
injunction and provided the agency with an opportunity to make a new responsibility
determination. Id. at 619; see also Watts-Healy Tibbitts A JV v. United States, 84 Fed. Cl.
253, 253 (2008) (“Watts-Healy II”) (holding second responsibility determination was rational
and characterizing the contracting officer’s initial review as “the most cursory consideration”
for “very serious charges”). In upholding the second responsibility determination, the court
noted that “[a]lthough the Court might not agree with the [Government’s] decision . . . it may
not ‘substitute its judgment for that of the agency.’” Id. at 258 (quoting Volpe, 401 U.S. at
416). So long as the Government has not violated the law, all that is required is that the
contracting officer articulate a rational basis. See id.

        Plaintiff’s assertion that the contracting officer failed to consider the “broader scope
of corruption,” Pl.’s Br. filed Nov. 29, 2010, at 12, is undermined by the contracting officer’s
review of the SFO’s Prosecution Opening Note. The administrative record shows that the
contracting officer included an article that linked to both SFO Prosecution Opening Notes
in her contracting file. See AR at 778. Defendant not only persuasively contends that she
reviewed these documents before writing her Memorandum for Record, but defendant-

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intervenor reviewed during argument the contracting officer’s highlighted copy of the SFO
Opening Notes. See Def.’s Br. filed Dec. 3, 2010, at 7. The court makes the modest
inference that, if the contracting officer included an article in her file (a file containing what
she considered in making her determination) that contained PDF links to both SFO
Prosecution Opening Notes, the contracting officer reviewed these documents. Her inclusion
of the SFO Prosecution Opening Note is a materially distinguishing factor from the
Southwestern Bell decision in that she included in her contracting file documents to support
her ultimate determination.

        The SFO Prosecution Opening Note characterizes M&J as involved in “widespread
historical corrupt[ion].” AR at 3412. M&J accepted that, “in paying agents large
commissions there was a risk that unknown proportions of those payments might be passed
on to public servants as bribes,” and the SFO opined that, “in countries with a similar risk
of corruption where M&J operated, such a system must have given rise to an identical risk.”
AR at 3406. The prosecution concluded that “there was a practice of corrupt activity within
[M&J] before 2002” that was historically “pervasive.” AR at 3442. The SFO Prosecution
Opening Note suggested that some of the corrupt practices were not being prosecuted, see
id., because of the SFO’s desire to encourage companies to self-report, see AR at 3407-08.

       From the SFO Prosecution Opening Note, the contracting officer was aware of M&J’s
ownership structure—M&J was an affiliate of a group of companies owned by the Mabey
family. AR at 3410. Although David Mabey resigned as a director of M&J and Mabey
Holdings Ltd. and he no longer has an executive role, “[t]he reality of the ownership structure
of M&J is that the Mabey family in general, and David Mabey in particular, have at all times
been in exclusive control of the affairs of M&J.” AR at 3411.

        The contracting officer was also aware of the remedial steps taken by M&J, as later
confirmed by MBL’s March 26, 2010 response to her inquiry. She learned that M&J had
replaced its board of directors, and, according to the SFO’s assessment “is, to a notable
extent, no longer the company that committed these crimes.” AR at 3407; see also AR at
3410 (“The SFO also [recognizes] that since the commencement of the investigation[,] M&J
has taken certain remediation steps.”). M&J “introduced new ethical procedures and agreed
to the appointment of an external monitor.” AR at 3410.

       Plaintiff’s contention that the contracting officer should have been required to review
the Danos counterclaim is unfounded in law and would have added nothing to the factual
basis upon which the contracting officer made her determination. Unlike Domenico Garufi
II and Southwestern Bell, the contracting officer in the instant case was informed on the
matters for which she based her decision. First, the contracting officer was aware of the
Danos counterclaim, and either chose not to review it or determined that she need not

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consider it in coming to her responsibility determination. See AR at 546 (explaining that
M&J’s internal investigation was undertaken as a result of “an allegation made by an ex-
employee that the company had made corrupt payments”). Under Grimberg it was within the
contracting officer’s purview to determine “what, and how much, information [she] needs.”
185 F.3d at 1303 (“Although FAR 9.105-1(a) does require the contracting officer to have,
or to obtain, enough information to make a responsibility determination, the contracting
officer is the arbiter of what, and how much, information he needs.”); see also id.
(“[A]lthough the contracting officer is given the discretion to seek additional or clarifying
responsibility information from a contractor, he is not obligated to do so.”). Comparing the
Domenico Garufi cases with this well-articulated standard in Grimberg, the case law instructs
that the contracting officer’s decision not to review the Danos counterclaim should be found
unreasonable only if her rationale was based on unfounded assumptions that the Danos
counterclaim could have debunked. See Domenico Garufi, 238 F.3d at 1339-41 (questioning
what contracting officer concluded in reviewing inaccurate information and remanding bid
protest for Court of Federal Claims to determine contracting officer’s rationale and basis for
concluding awardee responsible); Domenico Garufi II, 52 Fed. Cl. at 426, 428 (finding
contracting officer’s responsibility determination arbitrary and capricious where it was based
on inaccurate assumptions made about a receivership agreement contracting officer did not
read).

        In the instant matter, the contracting officer made no unfounded assumptions. The
contracting officer based her determination, in part, on the fact that “MBSI . . . has never
been alleged to be a party to the events that led to the prosecution of M&J,” an accurate
statement in that MBSI was not alleged to be involved in the corruption in Jamaica and
Ghana that led to M&J’s prosecution. AR at 546. From the SFO, she was fully aware of the
risk that MBSI, by itself or through M&J, had been exposed to the “widespread historical
corrupt[ion],” AR at 3412, that was “pervasive,” AR at 3442. The contracting officer
acknowledged in her Memorandum for Record that M&J “was the manufacturer of the
Mabey Logistics Support Bridge,” and therefore frequently involved in MBSI’s bridge
contracts. This relationship was the reason for her inquiry in the first instance.

        Her understanding of the scope of corruption is buttressed by allegations contained
in the SFO Prosecution Opening Note regarding the extensive control that David Mabey had
over the entire Mabey Group of companies, raising the risk that MBSI could have been
involved in unprosecuted incidents. The court finds that she was fully aware, with the broad
base of corruption and risks, that MBSI may have been involved in this corruption. Whether
MBSI was or was not involved in M&J’s activities, the contracting officer narrowed her
scope of concern to those events that led to actual prosecution and guilty pleas, and the law
places this discretionary determination within her authority. Given the allegations contained



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in the SFO Prosecution Opening Note, the text of the Danos counterclaim itself was
extraneous.

       Nor does the court find that the contracting officer’s self-denominated “extensive
internet search” should have unearthed the counterclaim. The court is loath to impose on a
contracting officer the duty to uncover information that could be retrieved in consulting the
internet, see Totolo/King, Joint Venture v. United States, 89 Fed. Cl. 442, 445-46 (2009)
(discussing issues that arise from argument that a contracting officer’s internet search was
insufficient), appeal docketed, No. 2010-5037 (Fed. Cir. Jan. 7, 2010). Review of a
contracting officer’s procurement decision should not involve assessing her computer
proficiency or calibrating what the sufficiency of a computer search entails. Plaintiff has
been allowed to rely on the Danos counterclaim in court to argue that MBSI and MBL were
charged with full knowledge of it in responding to the contracting officer’s questions.
Moreover, plaintiff was entitled to test whether the contracting officer rested her
responsibility determination on a misrepresentation of fact. 7/

        The contracting officer’s responsibility determination did not emphasize the
allegations of M&J’s criminal acts. Rather, her decision placed more weight on the remedial
measures taken by M&J, as evidenced in her catalog of these measures, which provided most
of the support for her positive determination. See AR at 546 (reciting how M&J paid
reparations, had five directors step down, voluntarily disclosed instances of corrupt
payments, and entered into a monitoring agreement). Although MBL no longer will be
subject to the monitoring agreement after 2012, during the pendency of the contract, the
contracting officer explicitly included this fact as part of her analysis. Her reasoning more
closely parallels that of the contracting officer’s in Verestar Government Services Group, B-
291854.2, 2003 WL 1903356 (Comp. Gen. Apr. 3, 2003), in that the contracting officer
considered the allegations of widespread corruption and weighed these concerns against her
belief in the company’s renascent commitment to reform. See id. at *3-4 (“In sum, the record
establishes that the contracting officer had before him the adverse information that [plaintiff]
asserts he failed to consider. More important, the record is also clear that the contracting
officer specifically considered the significance of this information in conjunction with other




       7/ In its order initially entered November 5, 2010 (reissued the date of this opinion),
the court allowed plaintiff’s Exhibits 8, 9, and part of 11 to the complaint to supplement the
record. These exhibits discuss the Danos counterclaim and suggest its accessibility to the
contracting officer at the time that she was reviewing the issue. Having concluded that the
contracting officer did not need to consider the text of the Danos counterclaim, the court
similarly does not place any weight on Exhibits 8, 9, and 11 to the complaint.

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information that he obtained and which he viewed as ameliorating the concerns and risks that
had been raised . . . .”).

        The court cannot find on the record before the contracting officer that she was
unaware of the broad scope of the Mabey Group’s corruption or David Mabey’s control over
the Mabey companies. While plaintiff would have the court rely on OSG, and the factors
relied on by that contracting officer, that case was in a procedurally different posture because
the OSG court was upholding a decision of non-responsibility. See OSG, 82 Fed. Cl. at 577.
Unlike the contracting officer in OSG, the contracting officer in the instant matter placed
confidence and emphasis on the remedial measures undertaken in an abbreviated period of
time. Cf. id. (explaining that contracting officer found offeror non-responsible and “did not
feel that sufficient time had elapsed for the Government to determine the [remedial]
measure’s effectiveness”). Similar to OSG, the court in the instant case finds that the
decision was within her authority and not within the court’s authority to overturn. Id. at 584
(“[The contracting officer] conducted an extensive investigation of the record . . . and used
her business judgment to determine that plaintiff was not a responsible contractor. We do
not substitute this court’s judgment for that of a contracting officer making determinations
of non-responsibility.”). If the contracting officer believes, as did the SFO, that MBL,
through M&J, is “no longer the company that committed these crimes” and that MBSI is
trustworthy to monitor its affiliate’s actions going forward, the court cannot second-guess
that decision. AR at 3407.

       7. Contention that MBSI should have been charged with M&J’s conduct

        Plaintiff asserts that “the actions of M&J cannot be separated from an analysis of
MBSI” and complains that TACOM “minimize[d] the connection between MBSI and its
parent organization.” Pl.’s Br. filed Oct. 29, 2010, at 25. Plaintiff mistakenly refers to M&J
as the parent company. First, plaintiff misstates the nature of the relationship between MBSI
and M&J. According to the administrative record, MBSI is owned by Mabey Bridging
(Americas) Ltd., which, in turn, is owned by Mabey Engineering (Holdings) Ltd. AR at 579.
Mabey Holdings is the parent company of the group of Mabey companies, not M&J. The
court points this out not to minimize the relationship between MBSI and MBL/M&J but,
rather, to address the factual inaccuracy inhering in plaintiff’s contention. See id. (describing
M&J’s remaining endeavors as “some residual trade”).

       Plaintiff’s contention moreover, is undermined in fact and law. If past criminal
conduct by an officer automatically does not establish a bidder as non-responsible, Domenico
Garufi, 238 F.3d at 1335, past criminal conduct of an affiliate (M&J, and its effective
successor MBL) does not automatically establish non-responsibility. What is required is that
the contracting officer “consider the affiliate’s past performance and integrity when they may

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adversely affect the prospective contractor’s responsibility.” FAR 9.104-3(c). Here, the
contracting officer did just that. She stated in her Memorandum for Record that she
“considered the integrity and business ethics of M&J in the determination of responsibility
of MBSI and MBL.” AR at 545. For the reasons stated above, the court finds that the
contracting officer made an informed responsibility decision that was not based on faulty
assumptions. Her reliance on remedial measures taken was rational and cannot be second-
guessed by this court.

       8. Plaintiff’s “corporate espionage” claim

        Plaintiff contends that the contracting officer’s responsibility determination was
arbitrary and capricious because it failed to consider the MBSI’s alleged “corporate
espionage” acts. Pl.’s Br. filed Nov. 29, 2010, at 18 (“[H]ad the [contracting officer]
considered the corporate espionage allegations at the time she made her responsibility
determination, they would certainly merit some inquiry, since they occurred after M&J had
announced it had cleaned house, and, would, therefore, indicate a continuing propensity to
engage in unethical, if not criminal, conduct.”). Specifically, plaintiff alleges that MBSI sent
an employee to plaintiff’s warehouse when MBSI knew that the Army was conducting tests
on plaintiff’s bridges and that MBSI chartered a plane to fly over the testing site. Pl.’s Br.
filed Oct. 29, 2010, at 8. MBSI’s allegations are memorialized in four letters exchanged
between plaintiff and MBSI. See AR at 3396-3402.

        The court’s order on the parties’ motions to supplement the administrative record
issued separately this date, discusses the pas de deux whereby the parties at one point agreed
that the contracting officer had considered the letters, recanted, and ended up with defendant
relying on the contracting officer’s Statement of Facts to the GAO that she considered them
and plaintiff’s insistence that she did not. Plaintiff contends that the contracting officer’s
failure to include in her Memorandum for Record that she considered the “corporate
espionage” acts casts doubt as to whether she reviewed them. See Pl.’s Br. filed Nov. 29,
2010, at 16-17.

        This dispute is not pivotal to the court’s analysis. The contracting officer was not
required to consider the “corporate espionage” acts or the letters that memorialized the
allegations. Her failure to mention the letters that she may or may not have reviewed in the
course of making her responsibility determination is of no consequence because she is the
“arbiter of what, and how much[] information [she] needs. . . . [A]lthough the contracting
officer is given the discretion to seek additional or clarifying responsibility information from
a contractor, [she] is not obligated to do so.” Grimberg, 185 F.3d at 1303. The contracting
officer was not required to review the letters exchanged between plaintiff and MBSI in which
plaintiff alleges that MBSI was engaged in “corporate espionage” acts, nor was she required

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to follow up on information that her office is alleged to have received from plaintiff
concerning MBSI’s activities during 2009. Plaintiff has not presented the court with any
basis for requiring her to have considered them.

       9. Other factors necessary for injunctive relief

     Plaintiff has not succeeded on the merits. To complete the record, the court makes
summary findings on the remaining three factors required for an award of injunctive relief.

       Plaintiff did show irreparable harm. An action at law only allows recovery of “bid
preparation costs in a suit for damages, but not loss of anticipated profits,” leaving a bid
protestor irreparably harmed. Essex Electro Eng’rs, Inc. v. United States, 3 Cl. Ct. 277, 287
(1983). Nonetheless, “the balance of hardships to the respective parties,” Centech, 554 F.3d
at 1037, would not favor plaintiff, given the significantly lower price offered by MBSI.

       Finally, the court must consider whether an injunction would be in the public’s
interest. Id. Section 1491(b)(3) requires the court to “give due regard to the interests of
national defense and national security and the need for expeditious resolution of the action.”
Defendant submits that [deleted] the bridges. See Declaration of David W. Marck, Nov. 5,
2010, ¶6 (“Marck Decl. I”). Mr. Marck is the cognizant Army official responsible for the
LOCB program. Id. ¶ 1.

        Mr. Marck declares that [deleted]. Id. ¶ 2. The LOCB system sought by the Army
under a full-blown Program of Record (“POR”) is a “new solution” to the [deleted] “Bailey
Bridge,” previously employed since WWII. Id. ¶ 3. The LOCB currently provided by
plaintiff under its contract with TACOM has bridged the historical gap to the new solution,
minus the more complete and rigorous testing required for normal material fielding for a
POR, as opposed to the Urgent Material Release (“UMR”) vehicle used for plaintiff’s
contract. Marck Decl. II ¶ 3, ¶ 3 n.2; see also Marck Decl. I ¶3. Under the POR the Army
will use LOCB systems in conjunction with its Multi Role Bridge Companies (“MRBC”)
unit. [Deleted]. Marck Decl. I ¶ 6 (emphasis added). The bridges supplied under plaintiff’s
current UMR contract [deleted] and “will never be fielded to MRBC units” because of
established restrictions due to lack of the full battery of rigorous tests required for a POR.
Id. ¶ 8. Rather, the bridges for MRBC units will be “standing operational asset[s] of the unit
for use and availability with any unit deployment and mission.” Marck Decl. II ¶ 3.

       Defendant has not substantiated the exigent national defense interest that would be
jeopardized were Mr. Marck’s [deleted]. Marck Decl. I ¶ 8. While the court does not
question the Army’s assessment of its preparedness, the court is at a loss to appreciate how
any equipment procured by the Department of Defense would fall outside the realm of

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exigent “national defense” concerns based on Mr. Marck’s two declarations. See Marck
Decl. II ¶ 3 (characterizing the procurement as “provisioning to MRBC units as a standing
operational asset,” and not, as plaintiff’s current contract calls for, “the purpose of direct use
in theater”). Plaintiff would have prevailed on the factor of furthering the public interest by
enjoining contract performance had it shown on the merits that the responsibility
determination rendered the procurement process unfair.

                                       CONCLUSION

       Accordingly, based on the foregoing:

       1. Plaintiff’s motion for judgment on the administrative record is denied, and
defendant’s and defendant-intervenor’s cross-motions for judgment on the administrative
record are granted. The Clerk of the Court shall enter judgment for defendant and defendant-
intervenor.

       2. By December 31, 2010, the parties shall identify by brackets any material subject
to redaction before the opinion issues for publication.

       IT IS SO ORDERED.

       No costs.




                                                   /s/ Christine O.C. Miller
                                             ______________________________
                                                   Christine Odell Cook Miller
                                                   Judge




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